Case 2:15-cv-00127-ABJ Document 249

Diana Rhodes, #5-2734
Traci Rivinus, #6-3920
Rhodes Law Firm, LLC
2015 Warren Avenue
Cheyenne, WY 82001
Telephone: 307.634.4444

diana@drhodeslaw.com
traci@drhodeslaw.com

Sean J. Gamble, #41733
Richard H. Friedman, #30626
Ken Friedman, #17148
Friedman|Rubin

51 University Street, Suite 201
Seattle, WA 98101
Telephone: 206.501.4446

sgamble@friedmanrubin.com

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF WYOMING

BRIAN KEHLER
Plaintiff,
v.
BRIDGESTONE AMERICAS TIRE
OPERATIONS, LLC, COMMERCIAL
TIRE, INC., and JOHN DOE
CORPORATIONS/ENTITIES 1-3

Defendants.

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Case Number 15-CV-127-J

 

PLAINTIFF'S REPLY TO DEFENDANTS’ RESPONSES TO PLAINTIFFS MOTION JN
LIMINE REGARDING REFERENCE TO FAILURE OF SUBJECT TIRE WAS CAUSED BY
ROAD HAZARD

 

Plaintiff, Brian Kehler, by and through his attorneys of record, hereby files his Reply to the

Responses to Plaintiffs Motion in Limine Regarding Reference to Failure of Subject Tire was

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Caused by Road Hazard filed by Defendants Commercial Tire, Inc. and Bridgestone Americas
Tire Operations, LLC. In support thereof, Plaintiff states:
DEFENDANTS' "INDICATORS" OF ROAD HAZARD ARE SPECULATION

Facts matter. They may not matter in politics, but they matter in the law.

There is no evidence whatsoever of a road hazard in this case. Defendants cannot change that
fact. Defendants offer no evidence to support road hazard occurred - ever - and they should not
be allowed to create mythical evidence to confuse and mislead a jury as to causation. The Court
should not allow such testimony to go to the jury, based on pure speculation. Such evidence is
not relevant and is unfairly prejudicial to the Plaintiff.

A party is not allowed to offer purely speculative evidence to a jury. But “[t]o support a
jury verdict, evidence must be based on more than mere speculation, conjecture, or surmise”
Rice v. United States, 166 F.3d 1088, 1092 (10th Cir.1999), Kirkbride v. Terex USA, LLC, 798
F.3d 1343, 1351 (10th Cir. 2015), cert. denied, 137 S. Ct. 38 (2016). Although factually
different from this case, in Wickman v. Henderson, 19 F. App'x 740, 743-44 (10th Cir. 2001),
the 10" Circuit found:

Here, plaintiff put no facts into evidence. The jury's determination “could

only have been based on speculation and conjecture, an impermissible ground

upon which to base its verdict.” Bankers Trust Co. v. Lee Keeling & Assocs., Inc.,

20 F.3d 1092, 1101 (10th Cir.1994). “{T]he jury was left to rely[ ] more on

speculation than evidence and reasonable inference. Each *744 inference argued

... Was not only speculative in itself, but it rested upon predicate speculation, thus

compounding the error.” Sunward Corp., 811 F.2d at 519.

Since there is no factual evidence of a road hazard causing the tire to fail, Defendants

invite the jury to speculate, an impermissible ground upon which to base its verdict. Defendants’

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argument raises questions of the credibility of the evidence, or "indicators" that the subject tire
was subjected to some mythical road hazard. The Defendants criticize the scientific and
unbiased studies of Dennis Carlson, calling his studies "flawed". Ironically, Defendants’ expert
Grant bases his opinions on testing that was conducted at the request of the tire industry, paid for
by the tire industry, and performed by employees of the tire industry, for the purpose of defeating
lawsuits such as this. Defendants! expert Grant, a frequent and well-known expert for the tire
industry, relies on the tire industry studies that purportedly confirm road hazard impact damage
causes tread belt separation failures of tires to support his opinions. His opinions are based on
unscientific principles and are for no other purpose than to convince a jury and the Court that
these supposed scientific studies are valid, although not based on unbiased scientific studies.

The Defendants’ Response offers no evidence or fact to support the theory of a road
hazard. They need and want a jury to believe there was some mythical road hazard, to avoid
responsibility for a faulty tire. The Defendants attempt to explain away why such testimony is
not speculative, why it is scientifically based, and in essence, are attempting to convince the jury
and the Court that "something must have happened,” because it cannot be the fault of
Bridgestone. This Court should not allow speculative and unscientific testimony, not based on
any facts or evidence to support such testimony, to be heard by the jury.

In a Court of law, facts matter. Testimony must be based on more than speculation.
Bridgestone argues there must have been a road hazard, when there is no evidence or facts to
support the contention. The Defendants should not be allowed to offer testimony that is not

based on evidence or facts.

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CONCLUSION
There is no evidence of a road hazard and any testimony regarding road hazards is pure
speculation. It is meant to avoid responsibility and confuse and mislead the jury. Such evidence
is not relevant and is unfairly prejudicial to the Plaintiff as it causes undue delay in trial and
confuses and misleads the jury. For these reasons, Plaintiff's Plaintiffs Motion In Limine
Regarding Reference To Failure Of Subject Tire Was Caused By Road Hazard should be

granted.

Dated this 9"" day of December, 2016.

/s/ Diana Rhodes

 

Diana Rhodes, Esq.

Traci Rivinus, Esq.

THE RHODES LAW FIRM
2015 Warren Avenue
Cheyenne, Wyoming 82001
Phone (307) 634-4444

Sean J. Gamble, #41733
Richard H. Friedman, #30626
Ken Friedman,
Friedman/Rubin

51 University Street, Suite 201
Seattle, WA 98101

Telephone: 206.501.4446

Attorneys for Plaintiffs

CERTIFICATE OF SERVICE

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I, the undersigned, hereby certify that the foregoing document was filed via CM/ECF and

I served a true and correct copy of same upon the entity or entities named below via CM/ECF on

this 9th day of December, 2016.

Monty L. Barnett

Grant R. Curry

White and Steele, PC

600 Seventeenth Street, Ste. 600N
Denver, CO 80202

mbarnett@wsteele.com

J. Kent Rutledge

Peter Howard

Lathrop & Rutledge, PC
1920 Thomes Ave., Ste. 500
PO Box 4068

Cheyenne, WY 82003-4068

krutledge@Jr-law.org
phoward@Ir-law.org

Marc R. Brosseau

Chad M. Lieberman

Brosseau Bartlett Seserman, LLC
6455 S. Yosemite St., Ste. 750
Greenwood Village, CO 80111

mbrosseau@bbs-legal.com

clieberman@bbsj-legal.com

Colin P. Smith

Robert E. Tonn

Holland & Knight, LLP

131 S. Dearborn St., Ste. 3000

Chicago, IL 60603
robert.tonn@hklaw.com
colin.smith@hklaw.com

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